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                                                                                               United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                   November 29, 2022
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk
                                      HOUSTON DIVISION


In re:
                                                                  Chapter 11
DEAN FOODS COMPANY, et al.,1
                                                                  Case No. 19-36314 (DRJ)
                                                     Debtors.
                                                                  (Jointly Administered)


Daniel H. Golden, as Liquidating Trustee of the
DFC Liquidating Trust,
                                                 Plaintiff,
vs.                                                               Adv. No. 21-03067
Kellogg Sales Company,

                                                 Defendant.

     JOINT STIPULATION OF THE PARTIES TO EXTEND CERTAIN DEADLINES IN
                                 THE SCHEDULING ORDER
                                           (Docket No. 19)
         The parties in the above-captioned adversary proceeding (the “Adversary Proceeding”)

hereby stipulate and agree as follows:

           A.        Plaintiff Daniel H. Golden, as Liquidating Trustee of the DFC Liquidating Trust

(the “Plaintiff” or “the Trustee”),2 filed the above Adversary Proceeding in the First Wave of

Avoidance Actions on April 28, 2021. (Adv. Docket No. 1).

           B.        Defendant Kellogg Sales Company (“Defendant,” and together with Plaintiff, the

“Parties”) opted into the mediation process set forth in the Order Establishing Procedures


1
 The debtors or liquidating debtors in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Dean Foods Company (9681) and Dean Holding Company (8390).
The liquidating debtors’ mailing address is: Daniel H. Golden, Trustee, Dean Foods Company Estate & Liquidating
Trust, In Care of BRG, 250 Pehle Avenue, Suite 301, Saddle Brook, NJ 07663, Attn: Rick Wright.
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    Or his predecessor in interest, as applicable.


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Governing Certain Adversary Proceedings Commenced by the Debtors Pursuant to 11 U.S.C. §§

547, 548, 549, and 550 (the “Procedures Order”) (Bankr. Case No. 19-36313, Docket No. 3646).

The Procedures Order governs this Adversary Proceeding.

       C.     On October 14, 2022, Plaintiff filed a Motion for Summary Judgment (the “Motion

for Summary Judgment”). (Adv. Docket No. 14). Defendant filed a response on November 4,

2022 (the “MSJ Response”) and Plaintiff filed a reply on November 21, 2022 (the “MSJ Reply”).

(Adv. Docket Nos. 17, 18).

       D.     The Procedures Order provides, in pertinent part, that the deadline to file a joint

pretrial statement is November 21, 2022, and further that a pretrial conference (the “Pretrial

Conference”) will take place on November 29, 2022.

       E.     The Parties desire to extend the time for submitting a joint pretrial statement and

for conducting the Pretrial Conference until after such time as the Court has had opportunity to

consider and determine the Motion for Summary Judgment and related briefing.

NOW, THEREFORE, IT IS STIPULATED AND AGREED TO BY THE PARTIES, AND
UPON APPROVAL BY THE COURT OF THIS STIPULATION AND AGREED ORDER,
IT IS SO ORDERED AS FOLLOWS:

       Notwithstanding anything in the Procedures Order or elsewhere to the contrary, a hearing

on the Motion for Summary Judgement, MSJ Response, and MSJ Reply will be conducted on

December 19, 2022 at 4:00 p.m. (Central Time) (the “MSJ Hearing”), and at the conclusion of the

MSJ Hearing, and as may be necessary based upon the Court’s ruling at the MSJ Hearing (if any),




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the Parties will establish an agreed schedule for pre-trial matters, including the filing of any pre-

trial statement, as well as a trial date, subject to the availability and convenience of the Court.

IT IS SO ORDERED.

    Signed: November 29, 2022.
Dated: ___________, 2022
                                              ____________________________________
                                                  ____________________________________
                                              DAVID  R. JONES
                                                  DAVID  R. JONES
                                              CHIEF UNITED
                                                  UNITED     STATES
                                                          STATES    BANKRUPTCY
                                                                  BANKRUPTCY  JUDGEJUDGE

AGREED AS TO FORM AND CONTENT:

Dated: November 23, 2022


 _/s/ Nicholas C. Brown                               _/s/ Michael D. Warner
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 Counsel to Daniel H. Golden, Liquidating             Counsel for     Defendant,     Kellogg    Sales
 Trustee of the DFC Liquidating Trust                 Company




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                                 CERTIFICATE OF SERVICE

        I certify that on November 23, 2022, a true and correct copy of the foregoing pleading was
served by the Bankruptcy Court’s CM/ECF to all parties that are registered to receive such notice
in the Adversary Proceeding.

                                                    /s/ Michael D. Warner
                                                    Michael D Warner




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